 Case 1:13-cr-00154     Document 285    Filed 08/02/13   Page 1 of 2 PageID #: 688



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                     Criminal Action No. 1:13-154-5

DANNY LEE DECKER

                        MEMORANDUM OPINION AND ORDER

     On Tuesday, July 30, 2013, defendant Danny Lee Decker

appeared before the court to plead guilty to violating 21 U.S.C.

§ 843(b), namely, using a telephone to commit, cause to be

committed, or facilitate the commission of a drug crime.                  See

Doc. Nos. 252, 255-56.        In the court’s August 1, 2013 Memorandum

Opinion and Order regarding the same, the court ordered

defendant to report to Southern Regional Jail on August 2, 2013,

by 2:00 p.m.    Doc. No. 269.

     On August 2, 2013, by memorandum, this court was notified

that defendant had recently been admitted to Welch Community

Hospital, information which has been verified through the

medical care facility.        As a result, until further information

is available, and until defendant is released from that

facility’s care, he will be unable to report to Southern

Regional Jail.        Accordingly, insofar as the court’s August 1,

2013 Memorandum Opinion and Order directed defendant to report

to Southern Regional Jail by August 2, 2013, at 2:00 p.m., that
 Case 1:13-cr-00154   Document 285   Filed 08/02/13    Page 2 of 2 PageID #: 689



portion of the Memorandum Opinion and Order is VACATED.                   Doc.

No. 269.

     Instead, the defendant is ORDERED to report directly to

Southern Regional Jail upon release from Welch Community

Hospital.

     The Clerk is directed to forward a copy of this Memorandum

Opinion and Order to counsel of record, the United States

Marshal, and the Probation Office of this court.

     IT IS SO ORDERED this 2nd day of August, 2013.

                                         ENTER:



                                         David A. Faber
                                         Senior United States District Judge
